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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



      SyncPoint Imaging, LLC,

                 Plaintiff,
                                             No. 2:15-cv-00247-JRG-RSP
           vs.
                                                [Jury Trial Demanded]

      Nintendo of America Inc., et al.,
                                              [REDACTED VERSION
                 Defendants.                  FILED PURSUANT TO PRO-
                                              TECTIVE ORDER]


              Nintendo’s Motion for Exceptional Case Attorney Fees
                            Under 35 U.S.C. § 285
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                                      INTRODUCTION
       This case stands out, and fees should be awarded under 35 U.S.C. § 285, not just be-

   cause it was substantively weak when filed—although it was, because there was never any

   possibility that the accused product could infringe the asserted patent. What makes this

   case stand out is that SyncPoint filed it even though Karl Hansen—SyncPoint’s alter ego—

   knew for the better part of a decade that the accused Nintendo product could not in-

   fringe, and, as SyncPoint admitted in interrogatory responses, neither SyncPoint nor its

   lawyers did any pre-filing diligence intended to overcome that decade-long understanding.
   Filing a substantively weak case is one thing. But filing a case the plaintiff knows cannot

   succeed, and then compounding that error by eschewing pre-filing diligence, makes this

   case stand out.

       This case also stands out in view of the unreasonable way in which it was litigated.

   SyncPoint and its lawyers engaged in serious and pervasive misconduct affecting virtually

   every aspect of this case, ranging from knowingly misrepresenting banal facts like where

   Mr. Hansen lived and whether SyncPoint had an office or employees, to serious miscon-

   duct such as manufacturing evidence

             and then electronically editing the false document to give the impression that

   SyncPoint had standing to maintain this case. SyncPoint and its lawyers’ anything-goes

   litigation tactics are contrary to this Court’s high expectations of litigants, and also make

   this case stand out.

       This Motion includes several parts. In Part I, Nintendo demonstrates that this case is

   exceptional and that Nintendo is entitled to its attorney fees under 35 U.S.C. § 285. In

   Part II, Nintendo demonstrates that SyncPoint is, and was always intended to be, an emp-

   ty shell used to manipulate venue and shield Mr. Hansen and his lawyers (the “Pia Firm”)

   from personal responsibility for filing this frivolous case. Nintendo, thus, moves to join

   Mr. Hansen and the Pia Firm as third-party defendants and to request that fees be award-

   ed jointly and severally against all three. And finally in Part III, Nintendo demonstrates


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   that the amount of fees requested in this Motion—                     —is reasonable under

   the lodestar test and should be awarded in full.

                                              PART I

       THIS CASE IS EXCEPTIONAL, AND NINTENDO IS ENTITLED TO ITS

                        ATTORNEY FEES UNDER 35 U.S.C. § 285
   1.      Facts
   1.1     Mr. Hansen knew, for almost a decade, that the Wii could not infringe;
           he sued anyway.
         Mr. Hansen knew and confirmed several times between 2007 and 2013—including
   once under oath—that the accused Nintendo product, the Wii, did not use his technology.

   Yet, he sued anyway.

         The supposed key innovation of the patent-in-suit (“’214 patent”) was the use of two

   visible cursors—an “internal” cursor and an “external” cursor—to control a computer.

   The ’214 patent disclosed a computer-presentation system in which a user controlled a

   computer with an external pointer, such as a laser pointer. The user pointed the laser

   pointer—the “external cursor”—at the computer’s screen. The claimed system used a

   camera to capture the location of the external cursor, and then moved the standard com-

   puter cursor—what the patent called the “internal cursor”—to the external cursor’s posi-

   tion.1 Because the external cursor was the central element of the ’214 patent, every claim

   featured an external cursor or a type of external cursor called an “optical cursor.”

         In 2007, about a year after the Wii was initially released, Mr. Hansen investigated the

   Wii to determine whether it infringed the ’214 patent.




   1
    ’214 patent at (54), (57), 1:56-60 (Dkt. 145).
   2
     See
   Unless otherwise noted, all exhibits are to the declaration of Kevin A. Zeck in support of
   this motion.

                                                 –2–
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                                                               .




       Mr. Hansen’s understanding of his technology—and that the Wii did not use it—did

   not change over the next approximately six years.




   3

   4
     The document in which Hansen makes these statements was produced multiple times in
   the litigation—originally pursuant to Nintendo’s third-party subpoena and later by one of
   Mr. Hansen’s alter ego entities, Brilliant Points. SyncPoint has attempted to claw the doc-
   ument back on privilege grounds. Nintendo has concurrently filed a motion for a finding
   that the document is not privileged, and has lodged the document with the Court.

   5

   6

   7




                                               –3–
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         During his 2012 bankruptcy, Mr. Hansen again confirmed his understanding that the

   Wii did not use his technology, this time under oath. In a 2012 hearing before the bank-

   ruptcy trustee, Mr. Hansen confirmed that the ’214 patent required a visible external cur-

   sor. The trustee asked him “what are the patents for?,” and he testified, “using a laser

   pointer and a web cam to control your computer.”9 The trustee also asked “do you have a
   right to bring litigation against anyone,” and he replied simply, “no.”10 This sworn testi-

   mony—if true—shows Mr. Hansen knew he had no right to sue Nintendo for infringe-

   ment.

         One year later, in 2013—and six years after Mr. Hansen

                                            —Mr. Hansen’s understanding of his technology

   and the Wii still had not changed.




   8

   9
       7-11-2012 Tr. In re Karl C. Hansen & Lisa H. Hansen at 6:16–18 (Ex. D).
   10
        Id. at 4:21–23, 8:11–13.
   11




                                               –4–
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         Three facts are, thus, indisputable: (1) Mr. Hansen knew that his patent required a

   visible, external cursor; (2) Mr. Hansen knew that the Wii did not have                     ;

   and (3) Mr. Hansen knew that Nintendo had never added                         to the Wii.
   1.2      SyncPoint pursued an unreasonable invisible-cursor theory, and Nin-
            tendo warned SyncPoint of the consequences.
         Despite his recognition from 2007 through 2013 that the Wii did not use his technol-

   ogy, in 2015, Mr. Hansen, through his corporate shell SyncPoint, sued Nintendo for pa-

   tent infringement. Mr. Hansen’s decision to sue was not based on serious, and required,

   pre-filing diligence. To the contrary, the full extent of Mr. Hansen and the Pia Firm’s pre-

   filing diligence was: “In 2014, Chris [Hansen, Karl’s son] told KH [Karl] that they should

   re-evaluate the Wii as a potentially infringing product. Karl Hansen and his sons looked at

   Internet videos explaining how Wii remote works and showing a little bit of reverse engi-

   neering. KH and his sons decided to seek out a law firm to pursue this litigation.”12

         Rather than conduct the required meaningful diligence, Mr. Hansen simply changed

   how he viewed the patent and his understanding of what an external cursor was. So, con-

   trary to the written description of his invention, the common and ordinary meaning of the

   word “cursor,” every embodiment of Mr. Hansen’s invention, and most importantly, Mr.

   Hansen’s own demonstrated understanding of his invention between 2007 and 2013, Mr.

   Hansen created a new theory: The invisible-cursor theory.

         SyncPoint was never able to exactly explain how the invisible-cursor theory worked

   in light of the specification of the ’214 patent, and SyncPoint’s explanations shifted

   throughout the case. Still, as near as can be determined from SyncPoint’s infringement

   contentions, SyncPoint seemed to claim the Wii’s infrared Sensor Bar, which projects invis-

   ible infrared light away from the display screen, created an external cursor when that in-

   12
        11-11-2015 SyncPoint Response to Inter. No. 8 (Ex. F)

                                                –5–
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   visible light was sensed by a sensor in the Wii Remote.13 In essence, SyncPoint’s invisible-

   cursor theory called for exactly the opposite of what the ’214 patent disclosed—where the

   patent disclosed and claimed a visible external cursor on the display screen,14 SyncPoint’s

   invisible-cursory theory described invisible light on a sensor off the display screen.

         With its newly minted invisible-cursor theory, SyncPoint accused Nintendo’s Wii,

   Wii U, and all of Nintendo’s games that used the Sensor Bar of infringing the ’214 pa-

   tent.15 But, in fact, the Wii did not—and could not—infringe, just as Mr. Hansen conclud-

   ed back in 2007. So, approximately two months after SyncPoint filed its Complaint, Nin-

   tendo sent SyncPoint a letter describing the Wii’s technical details. Nintendo pointed out

   that the Wii uses invisible infrared light from the Sensor Bar directed away from the dis-

   play, and does not use an external cursor. Nintendo also told SyncPoint that nothing in

   the ’214 patent indicated that Mr. Hansen “possessed an invention involving something

   other than a visible, external cursor, or that [he] acted as his own lexicographer, giving

   ‘cursor’ anything other than its common, ordinary meaning.”16 Nintendo told SyncPoint
   that pursuing the case would expose SyncPoint to potential sanctions for frivolous litiga-

   tion, and invited SyncPoint to dismiss the case without consequence.17 SyncPoint refused,

   and did the opposite: It aggressively pursued the case.
   1.3     The Court confirmed that the claims require a visible external cursor.
         The Court’s claim construction confirmed that SyncPoint’s invisible-cursor theory was

   baseless because cursors are visible—just as Mr. Hansen recognized in at least 2007, 2010,


   13
      SyncPoint [Proposed] First Suppl. P.R. 3-1 & 3-2 Disc’s at 9 (of 90) (Dkt. 189-1) (“The
   external light bar generates two ‘spots’ of infrared light …. These two light spots are an
   external cursor when detected on the imaging array of Wii remote ….”; SyncPoint P.R. 3-
   1 & 3-2 Disc’s at 8 (of 89) (Dkt. 181-1).
   14
      ’214 patent at 1:56-60, 2:23-43.
   15
      See Dkt. 190-1 at 2 (accusing the “distribution, promotion, and sales of the Wii and
   Wii-U platform … and game software titles designed to be used therewith”).
   16
      See 2015-04-14 Kinsel letter to Pia at p. 6 (Dkt. 267-2).
   17
      Id.

                                                 –6–
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   2012, and 2013 and just as Nintendo pointed out following service of the complaint. At

   the claim-construction hearing, the Court said it would work “a serious change” “to con-

   strue [the patent’s] use of ‘cursor’ as something not visible to the user when all of the indi-

   cations point the other way.”18 The Court explained that while an invisible external cursor

   may be possible, the Court did not “see any indication that [Mr. Hansen] claimed that.”19

   The Court’s claim-construction order summarized the deep flaws in SyncPoint’s theory in

   much the same language as Nintendo had: “There is no lexicography or disavowal that

   supports Plaintiff’s special definition of ‘cursor’ as an invisible indicator of position.”20
   1.4      SyncPoint conceded it could not show literal infringement or damages
            against Nintendo, but still refused to dismiss because it knew it was
            exposed for fees.
          Following claim construction, even SyncPoint recognized the futility of its position

   and gave up trying to demonstrate literal infringement or damages against Nintendo.




                                                                                                   Not

   surprisingly, given that SyncPoint had given up against Nintendo, Nintendo contacted

   SyncPoint and demanded that SyncPoint dismiss Nintendo with prejudice. SyncPoint’s

   counsel acknowledged that dismissal with prejudice was appropriate, but refused to stipu-

   late to a dismissal with prejudice unless Nintendo waived all of its costs and its right to

   seek fees as a prevailing party.23 Nintendo rejected SyncPoint’s demand,24 and turned to


   18
      2015-10-30 Cl. Const. Hearing Tr. at p. 54 (Ex. G).
   19
      Id. at pp. 53-54.
   20
      Cl. Constr. Order at 21 (Dkt. 230); see also id. at 19-20.
   21



   22

   23
        1/8/2016 Letter from Kinsel to Pia at 1 (Ex. J).
   24
        Id. at 2.

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   preparing for trial, which was only approximately five months away in May 2016.

        But shortly after SyncPoint’s refusal to dismiss Nintendo without waiver of fees, the

   Court stayed this case pending resolution of ownership issues in the New Hampshire

   bankruptcy court.25 At bottom, the bankruptcy proceedings were the result of Mr. Hansen

   having misled the bankruptcy court about his ownership of the ’214 patent during his

   personal bankruptcy. His misrepresentations resulted in the trustee filing an adversary ac-

   tion against him, clawing back the ’214 patent, and eventually selling the ’214 patent to

   co-defendant PixArt to satisfy Mr. Hansen’s personal debts.26 While the bankruptcy dis-

   pute was playing out, all of the claims of the ’214 patent became unenforceable through

   an IPR filed by PixArt and an ex parte reexamination filed by an unknown third party.27
        After all claims in the ’214 patent were invalidated and the bankruptcy court had

   confirmed the patent’s sale to PixArt, the parties again met and conferred about dismissal.

   Nintendo and PixArt offered to stipulate to dismissal with prejudice, but SyncPoint again

   refused, unless Nintendo and PixArt waived their right to seek fees and costs.28 That bears

   repeating because it is incredible: SyncPoint had long ago abandoned literal infringement

   and damages claims against Nintendo, SyncPoint no longer owned the patent, and all of

   the claims in the patent had been invalidated, and yet SyncPoint still refused to dismiss the

   case with prejudice unless SyncPoint, Mr. Hansen, and the Pia Firm were insulated from

   an attorney fees claim. Needless to say, Nintendo and PixArt again refused to waive their

   right to seek fees. Ultimately, SyncPoint filed a motion to dismiss the case without preju-

   dice, falsely suggesting to the Court that the case was “moot”29 and the result of a “set-




   25
      Dkt. 233.
   26
      See Dkts. 267-8 (Bankr. Ct. Order Authoring Sale), 267-9 (Assignment to Trustee).
   27
      Dkts. 267-11 (Ex Parte Reexam. Cert.), 267-12 (Inter Partes Review Final Decision).
   28
      May 2017 Email Chain between Pia, Kinsel and Mathiowetz (Ex. K).
   29
      Dkt. 260

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   tlement.”30 The Court rejected the motion, and on February 9, 2018, the Court adopted

   Magistrate Payne’s Report and Recommendation to dismiss the case with prejudice.31
   2.      SyncPoint litigated the case in bad faith.
         SyncPoint’s claimed damages—potentially tens if not hundreds of millions of dol-

   lars—necessitated a robust defense. As a result, this case was always destined to be expen-

   sive. But because SyncPoint and the Pia Firm took liberties with the truth, they caused the

   case to be substantially more complex and expensive than it needed to be. Two of the

   most egregious examples of this involved manufacturing evidence surrounding ownership

   of the ’214 patent and making material misrepresentations about venue.
   2.1     Mr. Hansen and the Pia Firm manufactured evidence to cover-up a per-
           ceived error in standing.
         From this case’s inception, SyncPoint was less than forthcoming about how it ob-

   tained the ’214 patent. In fact, for almost a full year after filing this case, SyncPoint did

   not file any purported assignments with the PTO. SyncPoint also refused to voluntarily

   produce the assignments in discovery until Nintendo threatened a motion to compel.32

   The evidence shows why: Mr. Hansen and his lawyers

                                                                       SyncPoint, Mr. Hansen,

   and the Pia Firm therefore actively tried to cover               up, even going so far as to

   manufacture and doctor evidence               producing it to Nintendo.
   2.1.1 The three assignments.
         SyncPoint claimed standing based on three assignments: (1) a November 2014 as-

   signment from Mr. Hansen to SyncPoint (the “Original Assignment”); (2) a February

   2015 reassignment from SyncPoint back to Mr. Hansen (the “Reassignment”); and (3) a


   30
      Id. at 2–3 (“The claims in this case were effectively settled when the patents [sic] and
   associated claims were purchased by one of the Defendants for $150,000.”). This caused
   the motion to be “erroneously granted.” Dkt. 264.
   31
      Dkt. 283.
   32
      Zeck Decl. at ¶¶ X-X.

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   February 2015 assignment from Mr. Hansen back to SyncPoint (the “Clean-up Assign-

   ment”).33 The reason for the three assignments is that the Original Assignment was defec-

   tive; it did not assign to SyncPoint either the right to sue for past damages or the right to

   pursue PixArt for supposed breach of contract.34 The Reassignment was intended to reas-

   sign the rights back to Mr. Hansen so he could use the Clean-up Assignment to fix the er-

   ror. This fix, in theory, was simple enough. But to work, the assignments needed to be ex-

   ecuted in a particular order—first the Reassignment and then the Clean-up Assignment.

                                                      SyncPoint would lack standing.35 As it turns

   out,                               , and this is where the cover-up begins.
   2.1.2 Mr. Hansen signed the assignments in the wrong order, and he and his
         lawyers worked to cover it up.
          The cover-up concerns, at least, the timing of the execution of the Reassignment. This

   is the assignment intended to send the rights SyncPoint obtained via the defective Original

   Assignment back to Mr. Hansen so Mr. Hansen would have the necessary rights to assign

   back to SyncPoint. Mr. Hansen claims




          SyncPoint’s privilege logs show that on February 19, the day after Mr. Hansen and

   SyncPoint represented the Reassignment was executed, a Pia Firm lawyer replied to an

   email from Mr. Hansen regarding, according to the subject line: “Question on assignments

   – looks reversed on one.”36 SyncPoint refused to disclose what was “reversed,” but what-
   ever it was,



   33
        See, e.g., SyncPoint Resp. to RFA No. 26 (Ex. L).
   34

   35

   36
        SyncPoint 3d Supp. Priv. Log at 16 (Ex. O);

                                                 –10–
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                                                                   37




                                                         To cover-up this break in the assignment

   chain, Mr. Hansen and his lawyers spent much of the case beclouding the fact



                                                                          Thus,




        The Pia Firm went further, manufacturing and producing a third version of the Reas-
   signment that they doctored to make it appear as if it had been executed on February 18

   (“Reassignment-V3”).42 By July 2015—about five months after filing the complaint—

   SyncPoint had not filed its supposed assignments with the USPTO, and had not produced

   evidence of ownership of the ’214 patent.43 On July 2, 2015, with Nintendo preparing to

   file its Motion to Transfer, the parties met and conferred, and during the meet and confer,

   Nintendo inquired about the missing assignments. The Pia Firm said it would follow up

   on July 8.44




   37



   38

   39

   40

   41

   42
                                                                            SYNCPOINT000402-
   10 (Ex. S).
   43
      Zeck Decl. at ¶¶ 13-18.
   44
      See 7/2/2015 Kinsel to Pia email (Ex. T).

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         On July 8,




                                                                                            As

   shown in the metadata (right), user “lbutler”—the paralegal—inserted “18” on July 8,

   2015,47 the same day SyncPoint

   produced the document to Nin-

   tendo as the actual reassignment.

         Unfortunately, Nintendo was
   never able to get complete infor-

   mation about the full circumstances leading to the Pia Firm’s creation of Reassignment-V3

   because SyncPoint and the Pia Firm obstructed all uncomfortable discovery, withholding

   all communications relating to this episode under specious claims of privilege and refusing

   to allow the paralegal to be deposed.48 Further, after the Pia Firm’s scheme came to light—

   and after SyncPoint had spent nearly six months claiming that Reassignment-V3 was the

   actual reassignment—SyncPoint tried to quash the entire incident by claiming that Reas-

   signment-V3 is actually “inadvertently produced work product,” a claim which it only

   abandoned on the eve of this motion being filed.49 The case was stayed—and now dis-
   missed—before Nintendo was able to file motions to compel designed to ferret out all of

   the information underlying the Pia Firm’s scheme.




   45

   46

   47
        The Court can see this for itself by opening the “Comments” Pane in Adobe Acrobat

   48
        See Nov. 2015 Email Chain (Ex. W); 12/21/2015 Letter from Shapiro to Kinsel (Ex. X).
   49
        12/21/2015 Letter from Shapiro to Kinsel (Ex. X); Zeck Decl. at ¶ 89.

                                               –12–
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   2.2      The fight over venue was colored by Mr. Hansen and the Pia Firm’s
            factual misrepresentations.
         Mr. Hansen and the Pia Firm also misrepresented evidence directly to the Court. The

   most egregious example is in connection with Nintendo’s Motion to Transfer Venue.

         Neither Mr. Hansen nor Nintendo are at home in this District. Instead, the only con-

   nection to this District was SyncPoint’s formation here a few months before the case was

   filed. Nintendo moved to transfer the case to the Western District of Washington where its

   home is, and SyncPoint resisted. SyncPoint argued that transfer to Washington would be

   inconvenient because, in the Pia Firm’s words “Mr. Hanson [sic] resides in New Hamp-

   shire.”50




                                         But, in fact, while Mr. Hansen and the Pia Firm repre-

   sented to the Court that Mr. Hansen “reside[d] in New Hampshire,” Mr. Hansen and his

   wife had actually




   50
        Dkt. 133 at 5 (SyncPoint’s Sur-Reply in Opp. to Motion to Transfer).
   51

   52




                                                –13–
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          Neither Mr. Hansen nor the Pia Firm could be trusted with even basic facts. For in-

   stance, according to Mr. Hansen’s declaration, SyncPoint had several




   But the truth was different.

          Before SyncPoint was formed, Mr. Hansen’s other alter ego called “Brilliant Points”

   purported

                                                                   .55 Nintendo subpoenaed Bril-
   liant Points, and in response, Brilliant Points claimed that much of Mr. Hansen’s email had

   been lost in an ISP “server crash.”56 So Nintendo subpoenaed the ISP for the Brilliant

   Points’ email. The ISP—unlike SyncPoint and Mr. Hansen—was able to produce Mr. Han-

   sen’s email, including the email supposedly “lost” in the server crash.

          Among the records the ISP produced was an

                                                                                 and    months

   after the litigation was filed—from Mr. Bland, one of the so-called consultants. In that

   email,




   53

   54

   55



   56
        Brilliant Points, Inc.’s 1st Supp. Objs. & Resps. to Subpoena at 4 (Ex. AC).
   57




                                                  –14–
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                                                                             ” Also in the ISP’s

   production was a                  2015                                     ) email exchange

   between Mr. Hansen and

                                         In the email, Mr. Hansen explained




          The Pia Firm made its own misrepresentations relevant to venue. The Complaint, filed

   on February 20, 2015, alleged that “SyncPoint is a Texas Limited Liability Company with

   its principal place of business in the Eastern District of Texas.”59 Yet, when asked in dis-

   covery where this place of business was, SyncPoint ultimately produced

                                                              backdated to                Thus,

   even though the Pia Firm told the Court in February 2015 that SyncPoint had a “place of

   business” in this District, it was not until six months later—and only when facing Ninten-

   do’s Motion to Transfer—that the Pia Firm and SyncPoint




   58

   59
        Dkt. 1 at ¶ 1.
   60




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                                                                   .61

                                         ARGUMENT
   3.      35 U.S.C. § 285 allows a Court to award fees to a prevailing party in
           an exceptional case.
         35 U.S.C. § 285 gives a court the power to award fees to the prevailing party in an

   exceptional case: “The court in exceptional cases may award reasonable attorney fees to

   the prevailing party.”62 To be entitled to fees, the moving party must show that (1) it is the

   “prevailing party”; and (2) the case is “exceptional.” Both requirements are met here.
   3.1     Nintendo is the prevailing party.
         There can be no reasonable dispute that Nintendo and PixArt are the prevailing par-

   ties under section 285. The Court has dismissed SyncPoint’s complaint with prejudice. The

   effect of that dismissal with prejudice on the legal requirements of an award under 35

   U.S.C. § 285 is decided as a matter of Federal Circuit law.63 Under Federal Circuit law, a

   Rule 41 dismissal with prejudice—even if it results from the plaintiff’s lack of standing—is

   sufficient to find the defendant is the prevailing party under 35 U.S.C. § 285. As the Fed-

   eral Circuit in Highway Equipment Co., Inc. v. FECO, Ltd. put it, a dismissal with preju-

   dice, whether for lack of standing or otherwise, has “sufficient judicial imprimatur to con-

   stitute a ‘judicially sanctioned change in the legal relationship of the parties.’”64 The

   Court’s dismissal with prejudice constitutes, as a matter of law, the judicially sanctioned

   change in the legal relationship to render Nintendo (and PixArt) prevailing parties.




   61




                                      MyHealth.com Contact Info (Ex. AH); MyHealth v.
   ALR Techs., Inc., Case No. 2:16-cv-00535-RWS-RSP, Dkt. 131 (Dec. 19, 2017);

   62
      35 U.S.C. § 285.
   63
      Highway Equip. Co., Inc. v. FECO, Ltd., 469 F.3d 1027, 1032 (Fed. Cir. 2006).
   64
      Id. at 1034.

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   3.2     This case was exceptional within the meaning of 35 U.S.C. § 285.
         In Octane Fitness, the Supreme Court clarified what constitutes an exceptional case

   for purposes of a fee award: [A]n “exceptional” case is simply one that stands out from

   others with respect to the substantive strength of a party’s litigating position (considering

   both the governing law and the facts of the case) or the unreasonable manner in which the

   case was litigated.”65 After Octane Fitness, the party seeking Section 285 fees must show

   that it is entitled to them by a preponderance of the evidence, which the Federal Circuit

   recognized as a “change in the law lower[ing] considerably the standard for awarding

   fees.”66 Review of a fees award is based on the deferential abuse-of-discretion standard.67
   3.3     Mr. Hansen knew the Wii could not infringe, conducted essentially no
           pre-filing investigation, and sued Nintendo anyway.
         As this Court recently found in My Health, Inc. v. ALR Techs., Inc.68—a case in which

   the Pia Firm represented the Plaintiff—exceptionality can be found where, among other

   things, the plaintiff should have known about the objective weakness of its litigation posi-

   tion. In My Health, it was the plaintiff’s refusal to recognize its objectively weak position

   on patentability. Here, it was SyncPoint’s and the Pia Firm’s refusal to recognize its objec-

   tively weak position on infringement.

         From 2007 through at least 2013,

                                                              .




                                                                  It is, thus, indisputable that

   Mr. Hansen knew the Wii did not and could not infringe his patent.

   65
      Octane Fitness, LLC v. ICON Health & Fitness, Inc., __ U.S.__, 134 S.Ct. 1749, 1756
   (2014).
   66
      Oplus Techs., Ltd. v. Vizio, Inc., 782 F.3d 1371, 1374 (Fed. Cir. 2015).
   67
      Highmark Inc. v. Allcare Health Mgmt. Sys., __ U.S. __, 134 S.Ct. 1744, 1747 (2014).
   68
      Case No. 2:16-cv-00535-RWS-RSP (Lead), Dkt. 131 (E.D. Tex. Dec. 19, 2017).
   69




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        Neither Mr. Hansen nor his lawyers conducted any factual or legal pre-filing investi-

   gation that could possibly justify filing this case when Mr. Hansen knew the Wii could not

   infringe. Indeed, Nintendo expressly asked for SyncPoint’s complete description of its pre-

   filing diligence to which SyncPoint responded in full,
          In 2014, Chris [Hansen, Karl Hansen’s son] told KH [Karl Hansen] that
          they should re-evaluate the Wii as a potentially infringing product. Karl
          Hansen and his sons looked at Internet videos explaining how Wii remote
          works and showing a little bit of reverse engineering. KH and his sons de-
          cided to seek out a law firm to pursue this litigation.70
        In addition to failing to do any meaningful factual investigation, SyncPoint and the
   Pia Firm did no meaningful legal investigation to determine whether its invisible-cursor

   theory was legally defensible. Had they done so, they would have seen that nothing in the

   specification supported the theory that an external cursor could be invisible. Indeed, as the

   Court put it, a visible cursor is “the only cursor” of which there is “any indication” in the

   specification, and “all of the indications” pointed away from an invisible cursor.71 The

   Court recognized that SyncPoint’s invisible-cursor theory would work “serious change” to

   the scope of the patent,72 and that SyncPoint’s invisible-cursor construction “conflict[ed]

   with the meaning of the term ‘cursor’ as used in the patent and . . . the relevant extrinsic

   evidence.”73




                                                   . This would have—and should have—been

   SyncPoint’s conclusion had either Mr. Hansen or the Pia Firm conducted a meaningful

   factual or legal pre-filing investigation.


   70
      11-11-2015 SyncPoint Response to Interrog. No. 8 (Ex. F).
   71
      2015-10-30 Cl. Const. Hearing Tr. at 53-54 (Ex. G) (emphasis added).
   72
      Id. at 54.
   73
      Cl. Const. Order at 20 (Dkt. 230).

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         This case also has much in common with Iris Connex, LLC v. Dell, Inc.74 In Iris Con-

   nex, Judge Gilstrap awarded section 285 fees, in part because he found that the plaintiff’s

   claim construction was unreasonable as it was “divorced from the claim language and the

   specification, and was an attempt to turn the claim language on its head.”75 In essence, Iris

   Connex proposed a claim construction that was the opposite of what the claims and spec-

   ification actually disclosed. The same is true here: SyncPoint’s invisible-cursor theory was

   not only factually contrary to Mr. Hansen’s own demonstrated understanding of his pa-

   tent, it was diametrically opposed to the claims, the written description, and the common

   and ordinary meaning of the English word “cursor.” Like Iris Connex, SyncPoint sought

   to turn the claim language on its head by reading the claims on a system that worked in

   precisely the opposite way disclosed in the specification and claimed in the claims. No

   reasonable litigant would have taken such a position.
   3.4     Mr. Hansen and the Pia Firm engaged in serious litigation misconduct.
         This case also stands out because of demonstrable litigation misconduct that plagued

   it from the beginning. Mr. Hansen and the Pia Firm                    had erred in securing

   standing for SyncPoint. To cover this up, they manufactured evidence:




                     . None of this was voluntarily disclosed to Nintendo. Instead, Nintendo

   had to spend hundreds of hours reconstructing the facts, identifying flaws in documents,

   and taking follow-up discovery to bring it to light, and once it was brought to light,

   SyncPoint and the Pia Firm sought to squash it with frivolous work-product claims.76 This

   is the epitome of bad-faith litigation.

         But the bad faith did not stop at manufacturing standing evidence. Instead, Mr. Han-


   74
      235 F.Supp.3d 826 (E.D. Tex. 2017).
   75
      Id.at 848.
   76
      See generally Zeck Decl. at ¶¶ 2-113.

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   sen and the Pia Firm misrepresented facts directly to the Court, such as the false claim

   that                                                                         , the false claim

   that                                                               and the false claim that

   SyncPoint had a place of business in this District when it did not. And while the conven-

   ience of this Court as a venue is, at this point, water under the bridge, the salient fact is

   that SyncPoint and the Pia Firm misrepresented basic facts, forcing Nintendo to spend

   time and money to investigate the true facts, vastly complicating the case and making it

   much more expensive than it otherwise needed to be.

          Even the dispute over dismissal demonstrates SyncPoint, Mr. Hansen, and the Pia

   Firm’s bad faith. SyncPoint had at least two opportunities to dismiss Nintendo with prej-

   udice and at both points refused to do so unless Nintendo waived its claim for attorney

   fees. This is similar to this Court’s decision in Opal Run LLC v. C & A Marketing, Inc.

   where the Court found that a plaintiff’s refusal to dismiss with prejudice absent a waiver

   of fees “suggests exposure to an ‘exceptionality’ finding was on its mind.”77 Here,
   SyncPoint, Mr. Hansen, and the Pia Firm’s understanding that this case is exceptional is

   not a mere suggestion as it was in Opal Run; it is the manifest conclusion. SyncPoint re-

   fused to dismiss with prejudice without a waiver of fees even though it had (1) waived its

   literal infringement and damages claims against Nintendo, (2) lost ownership of the pa-

   tent, and (3) all claims of the patent had been invalidated. SyncPoint then tried to mislead

   the Court into entering a dismissal without prejudice. The only plausible reason SyncPoint

   would go to this extent is a recognition of the likelihood of an exceptionality finding.

          This Court sets a high bar for the integrity of the parties appearing before it. Yet,

   SyncPoint, Mr. Hansen, and the Pia Firm actively pushed its conduct far below those ex-

   pectations throughout the case by misrepresenting basic facts to the Court and manufac-

   turing key evidence. This conduct not only injured Nintendo by drastically increasing the


   77
        Case No. 16-cv-0024-JRG-RSP (E.D. Tex. Nov 29, 2017) (slip op. at 6).

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   costs and complexity of the case, it undermined the legitimate expectations of this Court

   as to how all litigants should behave. It is now time to put things right and find that this

   case is exceptional within the meaning of section 285.

                                              PART II

         THE COURT SHOULD JOIN MR. HANSEN AND THE PIA FIRM AS

                               THIRD-PARTY DEFENDANTS
   4.         A fee award pursuant to 35 U.S.C. § 285 can run against parties other
              than the plaintiff.
         In Iris Connex LLC v. Dell Inc., Judge Gilstrap described both the legal underpin-

   nings and the policy reasons supporting the imposition of a fee award against parties oth-

   er than the plaintiff.78 Judge Gilstrap found that “the statutory text, current case law, and
   statutory purpose behind the Patent Act and Section 285 all support assessing direct Sec-

   tion 285 liability against non-parties, so long as (1) the actor is responsible for conduct

   that makes the case exceptional, (2) the actor is afforded due process, and (3) it is equita-

   ble to do so.”79
   4.1        SyncPoint is a shell whose intended purpose was to establish venue in
              this Court, shield Mr. Hansen and the Pia Firm from personal respon-
              sibility for this frivolous case, and to wither away if things went
              wrong.
         SyncPoint was not, and was never intended to be, an operating entity; its corporate

   existence, supposed consultants, and even supposed office were all a sham, intended mere-

   ly to establish venue and then disappear if things went bad.

         SyncPoint was formed as a Texas LLC in November 2014, about three months before

   SyncPoint filed this case.80 As reflected in its formation documents, Mr. Hansen was

   SyncPoint’s sole managing agent and organizer.81 Mr. Hansen did not live in Texas when

   78
        235 F.Supp.3d 826 (E.D. Tex. 2017).
   79
        Id. at 843.
   80

   81
          .

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   he formed SyncPoint, and a

                                                                                        .82

          SyncPoint never had any actual employees other than Mr. Hansen.




                      ”83
          SyncPoint’s physical office,                      was pure fiction. SyncPoint’s com-

   plaint alleged that it was an LLC “with its principal place of business in the Eastern Dis-

   trict of Texas.”84 But neither the complaint nor SyncPoint’s Texas Certificate of Formation

   listed an address in the Eastern District.85 Instead, the only address listed was for the regis-

   tered agent—Adam Hoyt, a lawyer working for the Pia Firm—out of the Pia Firm’s

   Grapevine, Texas “office.”86 Given the lack of connections, Nintendo moved to transfer,

   and that motion triggered an avalanche of activity by Mr. Hansen and the Pia Firm de-

   signed to manufacture evidence to mislead Nintendo and the Court into believing that an

   office existed when it did not.

          On July 2, 2015, counsel for Nintendo met and conferred with members of the Pia

   Firm to discuss Nintendo’s intended Motion to Transfer venue.87 During that meeting,


   82
        He currently has his “home” in Orem, Utah, and is apparently working in Boston.
   83

   84
        Dkt 1 at 1.
   85

   86
      Dkt. 1 at 1; Hoyt Profile (Ex. AJ). Mr. Hoyt’s Grapevine address (on the Certificate of
   Formation) is for an apartment complex. Resort at 925 Main Website (Ex. AK).
   87
      7/2/2015 Kinsel email to Pia (Ex. T).

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   Nintendo asked whether SyncPoint had an office in the Eastern District and counsel for

   SyncPoint said that he “believed” SyncPoint had an address in Plano.88 In fact, SyncPoint

   had no such office—and the Pia Firm knew that to be the case. So, the Pia Firm and Mr.

   Hansen rushed off to manufacture the appearance of one.



                       But by the July 2015 meet and confer on Nintendo’s motion, PetAware

   had settled its on-going litigation, and had no reason to maintain a supposed presence in

   this District.89




                                                                                92


         The Preston Road address that SyncPoint supposedly took        has an unseemly his-

   tory.

                                                                  . But the Preston Road ad-

   dress was also home to another Pia Firm client: MyHealth, which was recently sanctioned

   by this Court for its own exceptional case. MyHealth, like             and SyncPoint—all

   Pia Firm clients prosecuting patent-infringement cases in this District—used the same

   Preston Road address to pretend that they were at home in this District.


   88
        Id.
   89
        Case No. 2:14-cv-00656-JRG-RSP, Dkt. 48 (stipulated dismissal, 4/7/2015).
   90




   91

   92




                                                –23–
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                                  93


          As expected, discovery revealed that there was no SyncPoint business at Preston

   Road.




          Mr. Hansen viewed SyncPoint as his alter ego, and the record does not reflect that the
   corporate formalities were ever observed. The local rules of this Court require parties to

   produce relevant records without awaiting document requests. But SyncPoint never volun-

   tarily produced any corporate documents, save its publicly available corporate formation

   document. Because SyncPoint refused to voluntarily turn these documents over,

   SyncPoint’s corporate records, including its bylaws, partnership agreement, operating

   agreement, minutes of any meetings, any documents concerning the appointment or elec-

   tion of company officers or management, any documents concerning any annual or regu-

   larly scheduled meeting of the management of SyncPoint, and all corporate books and

   records were requested.97 Yet, SyncPoint objected that the requests were “irrelevant” and

   “overbroad,” and refused to produce any corporate records at all.98 SyncPoint is, thus,

   now married to the record it created, which demonstrates that SyncPoint and Mr. Hansen


   93

   94

   95

   96

   97
        SyncPoint’s Objs. & Resps. to PixArt’s RFPs 82, 84, 87, 89, 91, 94, 96, 98 (Ex. AQ).
   98
        Id.

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   never observed the corporate formalities.




                                                          99


   4.2     Mr. Hansen and the Pia Firm were responsible for the conduct that
           makes this case exceptional.
         Mr. Hansen treated SyncPoint as his alter ego and the exceptional conduct in this case

   was the result of Mr. Hansen and the Pia Firm. SyncPoint was merely the puppet through

   which they acted.

         Mr. Hansen—not

                                                Mr. Hansen, not SyncPoint, backdated



                                                       Mr. Hansen signed and submitted to this

   Court                                                       And Mr. Hansen knew—all along—

   that he could never establish infringement against Nintendo because the Wii simply did

   not have an external cursor. Mr. Hansen at all times viewed SyncPoint as his alter ego. In

   short, SyncPoint was Mr. Hansen and Mr. Hansen was SyncPoint. As a consequence, the

   conduct that was exceptional here falls on Mr. Hansen’s shoulders.

         The Pia Firm, like Mr. Hansen, was up to its neck in the exceptional circumstances of

   this case. The Pia Firm had its own obligations to undertake pre-filing diligence to deter-

   mine that this case could be prosecuted in good faith. Yet, it did nothing, relying instead

   on Mr. Hansen’s review of Internet videos showing “a little bit of reverse engineering.” But

   it was the Pia Firm’s job to ensure that this case was both legally and factually supporta-

   ble, and the Pia Firm did nothing to ensure that. Had it done so, this case would never

   99




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   have been filed, or at a minimum, would have been dismissed shortly after it was filed

   when Nintendo provided Wii technical information showing that the Wii could not possi-

   bly infringe. But the Pia Firm went further than failing to conduct its own diligence. The

   Pia Firm manufactured evidence of standing

                                                                                and only when it

   got caught, claimed that the whole thing was a mistake. Similarly,




                                Like Mr. Hansen, the Pia Firm made material misrepresenta-

   tions directly to the Court. The Pia Firm represented that Mr. Hansen “reside[d] in New

   Hampshire,” when he lived in Utah. And in the very first document presented to the

   Court, the Complaint, the Pia Firm told the Court that SyncPoint had “its principal place

   of business in the Eastern District of Texas” when SyncPoint had no place of business.

         Finally, and perhaps most importantly for the Pia Firm’s responsibility for what hap-

   pened here, the Pia Firm had much more control over this case than a typical law firm.

   The Pia Firm was the majority owner of this case. While the underlying engagement letter

   between Mr. Hansen and the Pia Firm has not been produced, and thus, the Pia Firm’s full

   interest in the outcome is unknown, the Pia Firm did present testimony during Mr. Han-

   sen’s bankruptcy proceeding describing the basics of its arrangement. That testimony

   demonstrates that the Pia Firm had a 60% contingency interest in the outcome of this

   case.100 Thus, the Pia Firm had an even greater interest in the outcome of this litigation

   than Mr. Hansen. The implication is clear: The litigation misconduct was driven, at least

   in part, by the Pia Firm’s desire to collect on its majority interest in the case. Surely, given

   these circumstances, the Pia Firm can be held responsible for the case’s exceptional nature.



   100
     Tr. of Apr. 12, 2017 Bankruptcy Hearing: Aycock Testimony at 6:5-19 (Ex. AS); Mem.
   Op., Case No.12-11907-BAH, Dkt. 148 at 5 (Bankr. D.N.H. Apr. 25, 2017) (Ex. AT).

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   4.3      Equity demands that Mr. Hansen and the Pia Firm be made parties.
          SyncPoint has nothing; it has no revenue; it has no property (its principal assets were

   transferred to PixArt in a forced sale); it has no income of any kind; it has nothing against

   which to execute a judgment for fees. The moment the Court enters a judgment imposing

   costs and fees on SyncPoint, it is likely to disappear into the wind, leaving Nintendo hold-

   ing the bag for more than                                 because of Mr. Hansen and the Pia

   Firm’s bad-faith conduct. And, of course, this is precisely the point of why SyncPoint was

   set up in the way that it was—to ensure Nintendo had no recourse in the event Nintendo

   defended itself and prevailed. Thus, failure to impose a fee award jointly and severally

   against Mr. Hansen and the Pia Firm would grossly undermine the purpose behind 35

   U.S.C. § 285. As Judge Gilstrap put it in Iris Connex: “Congress has chosen to increase

   the risk borne by those who assert frivolous and exceptionally weak claims thereby incen-

   tivizing parties … to defend against such claims. If that risk can be side-stepped by the use

   of an empty shell to front for the real actor, simply because the real actor was not origi-

   nally named as the plaintiff, then Section 285 means nothing.”101
   4.4      Adding Mr. Hansen and the Pia Firm as third-party defendants satisfies
            due process.
          Mr. Hansen and the Pia Firm can answer this brief. They will have their day in court

   if they are made parties to this case. Indeed, Judge Gilstrap in Iris Connex, specifically

   recognized that adding the owner of a shell plaintiff and its counsel as third-parties de-

   fendants satisfied the requirements of due process. Such is the case here too.

                                              PART III

          NINTENDO’S REQUESTED FEES AND COSTS ARE REASONABLE
   5.       Nintendo’s fees are reasonable.
          Nintendo seeks                                        As demonstrated below, these

   amounts are based on reasonable hourly rates charged for reasonable tasks. More general-


   101
         235 F.Supp.3d at 845.

                                                 –27–
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   ly, they are reasonable in light of the damages SyncPoint sought, and the work SyncPoint

   forced Nintendo to do to defend itself. Indeed, as shown below, these fees are




   5.1     Nintendo’s fees were reasonable under the lodestar method.
         An award of fees under section 285 is typically calculated by “multiplying a reasona-

   ble hourly rate by the reasonable number of hours required to litigate a comparable

   case.”102 A rate is reasonable if it is “in line with those prevailing in the community for

   similar services by lawyers of reasonably comparable skill, experience and reputation.”103



                         The AIPLA survey for 2017 shows that for cases in Texas valued in

   excess of $25,000,000—which, given SyncPoint’s assertions of infringement against the

   Wii, Wii U, and compatible games, this case certainly was—the average fee up through

   claim construction was $2,407,000.104 But this case was on a fast track and in fact by the

   time it was stayed, fact discovery had closed, the parties had exchanged opening expert

   witness reports (infringement and damages from SyncPoint and invalidity from Nintendo

   and PixArt), and trial was only four months away. Thus, Nintendo’s fees



         Another measure of the overall reasonableness of Nintendo’s fees is that they

                                    During Mr. Hansen’s bankruptcy, the Pia Firm put on tes-

   timony to describe its fees up to the time of the bankruptcy. According to the Pia Firm’s

   testimony, the Pia Firm expended approximately 9,000 hours of time at a partner-blended



   102
       Lumen View Tech. LLC v. Findthebest.com, Inc., 811 F.3d 479, 483 (Fed. Cir. 2016)
   (citation omitted); see also SUFI Network Servs., Inc. v. United Sates, 785 F.3d 585, 594
   (Fed. Cir. 2015).
   103
       SUFI Network Servs., 785 F.3d at 594 (citation omitted).
   104
       AIPLA 2017 Report of Economic Survey at I-116 (Ex. AR).

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   rate of approximately $320 for total fees of over $2,000,000.105 According to the Pia

   Firm, its partner-blended rate of $320 was reasonable, and was actually below the com-

   mensurate rate for attorneys at that level for this type of case.106




          Nintendo’s fees were also




                                                                                          . But

   overall, two broad categories comprise virtually all of Nintendo’s attorneys’ hours:

                Discovery—




                Motion Practice—




   105
         Tr. of Apr. 12, 2017 Bankruptcy Hearing: Aycock Testimony at 8:6-12, 21-25 (Ex. AS).
   106
         Id. at 9:1-8.

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                                        CONCLUSION
       In virtually every way in which a case can stand out, this one did. SyncPoint filed this

   case when Mr. Hansen knew it could not succeed, and neither Mr. Hansen nor the Pia

   Firm conducted serious diligence to convince themselves otherwise. Mr. Hansen and the

   Pia Firm engaged in rampant litigation misconduct, misrepresenting facts to the Court and

   even manufacturing evidence. There can be no doubt that this case was exceptional, ne-

   cessitating an award of fees, which equity demands run against Mr. Hansen and the Pia

   Firm. The fee award Nintendo requests is appropriate. Thus, the Court should (1) find this

   case exceptional and order fees                                    and (2) join Mr. Hansen

   and the Pia Firm as third-party defendants and order that they be jointly and severally re-

   sponsible for the fees so ordered.




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                                     Respectfully submitted,

   Dated: February 23, 2018          By:     /s/ Grant Kinsel
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                                CERTIFICATE OF SERVICE


       I certify that all counsel of record who are deemed to have consented to electronic

   service are being served this February 23, 2018 with a copy of this document via the

   Court’s CM/ECF system.

                                               /s/ Grant Kinsel
                                               Grant Kinsel




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                              CERTIFICATE OF CONFERENCE


       I certify that counsel for Defendants Nintendo of America Inc. and Nintendo Co., Ltd.

   (collectively, “Nintendo”) complied with the meet and confer requirement in Local Rule

   CV-7(h), and that the foregoing motion is opposed by Plaintiff SyncPoint Imaging, LLC.

   The motion is not opposed by Defendant PixArt Imaging, Inc.

       I further certify that, on Thursday, February 15, 2018, a personal conference, by

   phone, concerning the foregoing motion was held between me, Joseph Pia and local coun-

   sel for Plaintiff SyncPoint Imaging, LLC, among others. During that conference, I provid-

   ed the grounds Nintendo contends justify exceptional case fees. At that conference, coun-

   sel for SyncPoint would not agree to the requested relief sought by the foregoing motion.

       A second personal conference, by phone, concerning the foregoing motion was held

   on Tuesday, February 20, 2018. The participants to this conference were Mr. Pia and me.

   At this second conference, Mr. Pia and I again discussed the requested relief, but not reso-

   lution of the issues raised in this motion was reached. As such, discussions between Nin-

   tendo and SyncPoint have conclusively ended in an impasse, leaving an open issue for the

   court to resolve.

                                                  /s/ Grant Kinsel
                                                  Grant Kinsel




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